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District of Maryland
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May 27, 2018

Christopher C. Nieto, Esq.

Law Office of Christopher C. Nieto
231 E. Baltimore Street, Suite 1102
Baltimore, MD 21202

Re: United States v. Dioel Trujillo,
Case No. 17-03318-SAG (D. Md.)

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Dioel Trujillo (hereinafter “Defendant”), by the
United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by August 3, 2018, it will be deemed withdrawn. The terms of the
Agreement are as follows:

Offense(s) of Conviction

1. The Defendant agrees to waive indictment and plead guilty to a Criminal Infortnation
charging the Defendant with Unlawful Possession of Device Making Equipment, in violation of
18 U.S.C. § 1029(a)(4). The Defendant admits that the Defendant is, in fact, guilty of the
offense(s) and will so advise the Court.

Elements of the Offensefs)

2. The elements of the offense(s) to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows: That on or about the time alleged
\ in the Criminal Information, in the District of Maryland, and elsewhere:

a. the Defendant knowingly possessed device-making equipment;
b. the Defendant acted with intent to defraud; and

c. the Defendant’s conduct affected interstate or foreign commerce.
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Penalties

 

3. ; The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:

 

 

 

 

 

 

 

 

 

STATUTE MAXIMUM MAXIMUM | MAXIMUM SPECIAL
IMPRISONMENT | SUPERVISED FINE ASSESSMENT
RELEASE
18 U.S.C. 15 years Three years $250,000 $100
1029(a)(4)
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served,

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

é. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:
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a. If the Defendant had pled not guilty and persisted in that plea, the Defendant would
have had the right to a Speedy jury trial with the close assistance of competent counsel. That trial

sou ee conducted by a judge, without a Jury, if the Defendant, this Office, and the Court all
agreed.

b. The Defendant has the ri ght to have his case presented to a Grand Jury, which would
decide whether there is probable cause to return an indictment against him. B y agreeing to proceed
by way of Criminal Information, he is giving up that right, and understands that the charges will
be filed by the United States Attomey without the Grand Jury.

c. If the Defendant elected a Jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. Ali twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

d, If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend. .

e. The Defendant would have the right to testify in the Defendant’s own defense if the
Defendant so chose, and the Defendant would have the right to refuse to testify. If the Defendant
chose not to testify, the Court could instruct the jury that they could not draw any adverse inference
from the Defendant's decision not to testify.

f. Ifthe Defendant were found guilty after a trial, the Defendant would have the right
_ to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

g. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

h. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

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i. By pleading guilty, the Defendant will also be giving up certain valuable civil rights
and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998}. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the applicable base offense level is a level 6 pursuant to United States Sentencing
Guidelines (“U.S.S.G.”} §2BI.1(a)(2).

b. There is an increase of 2 levels, pursuant to U.S.S.G. §2B1.1(b)(2)(A)(i), because
the offense involved 10 or more victims.

Cc. The offense level is increased to 12 levels, pursuant to U.S.S.G. §2B1.1(b)(11),
because the offense involved the possession or use of any device-making equipment or
authentication feature; the production or trafficking of any unauthorized access device or
counterfeit access device, or authentication feature; or the unauthorized transfer or use of any
means of identification unlawfully to produce or obtain any other means of identification, or the
possession of five or more means of identification that unlawfully were produced form, or obtained
by the use of, another means of identification.

d. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3EI-.!({a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
§ 3El.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the

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date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(vili) violates this Agreement in any way.

7. There is no agreement as to the Defendant’s criminal history, and the Defendant
understands that the Defendant's criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminat history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, or potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Waiver of Appeal

9. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional chalienges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

(ii} This Office reserves the right to appeal any sentence below a statutory
minimum.

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

10. a. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

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b. Specifically, but without limitation on the government's right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities:

(i) Lenovo laptop computer (serial number YDOZQPY6);

(ii) Dell laptop computer (service tag 44466D1);

(iii} | Apple iPhone cellular telephone (IMEI 0138450036343 11);

(iv) Apple iPhone cellular telephone (IMEI 35379008267523 1);

{v) Samsung Galaxy 6 cellular telephone (IMEI 357746063338856);
(vi) Credit/debit card scanning/reading device;

(vii) Black SanDisk USB thumb drive, 16 GB;

(viii) Red SanDisk USB thumb drive, 32 GB;

(ix) | Biack Garmin GPS device; and

(x) Four ribbon cables.

c. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

d. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

€. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Restitution

il. The Defendant agrees to the entry of a restitution order for the full amount of the victims’
losses. The Defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and 3663A and 3563(b)(2) and
3583(d), the Court may order restitution of the full amount of the actual, total loss caused by the
offense conduct set forth in the factual stipulation. The total amount of restitution shall be due
immediately and shall be ordered to be paid forthwith. Any payment schedule imposed by the
Court establishes only a minimum obligation. The Defendant will make a good faith effort to pay
any restitution. Regardless of the Defendant’s compliance, any payment schedule does not limit
the United States’ ability to collect additional amounts from the Defendant through all available
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collection remedies at any time. The Defendant further agrees that the Defendant will fully
disclose to this Office, the probation officer, and to the Court, subject to the penalty of perjury, all
information (including but not limited to copies of all relevant bank and financial records)
regarding the current location and prior disposition of all funds obtained as a result of the criminal
conduct set forth in the factual stipulation. The Defendant further agrees to take all reasonable
steps to retrieve or repatriate any such funds and to make them available for restitution. If the
Defendant does not fulfill this provision, it will be considered a material breach of this Agreement,
and this Office may seek to be relieved of its obligations under this Agreement.

Defendant's Conduct Prior to Sentencing and Breach

12, a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (3) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)}-—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 1 1(c)(1)(C).

Entire Agreement

13. This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.
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If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly. ;

Very truly yours,

Robert K. Hur
United States Attorney

By: f A
Matthew J. Maddox
Assistant United States Attorney

[have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attomey. I understand it and I voluntarily agree to it. Specifically, 1 have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

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Dioel Trujitfo

I am the Defendant’s attorney. ! have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter

inte this Agreement is an informed and voluntary one. O-
$Iz1 16 C}

Date Christopher C. Nieto, Esq.

 
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ATTACHMENT A - STIPULATION OF FACTS
The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

 

The Defendant, Dioel! Trujillo, age 45, is a resident of Kissimmee, Florida. On or about
December 4, 2017, the Defendant and “A.T.A.” traveled in a rental vehicle from Tampa, Florida
to other states, including West Virginia and Maryland. During their interstate travels, the
Defendant and A.T.A. jointly, knowingly, and with the intent to defraud, possessed more than 15
counterfeit credit/debit cards and equipment designed and primarily used for making counterfeit
access devices. The Defendant used some of the counterfeit credit/debit cards to make fraudulent
retail purchases.

While traveling on Interstate 81 in Washington County, Maryland on December 7, 2017,
the Defendant and A.T.A. were stopped by Maryland State Police (“MSP”) for a traffic infraction.
MSP subsequently removed the Defendant and A.T.A. from the vehicle and performed a probable
cause search. MSP recovered two laptop computers, three cellular telephones, a MSR605
credit/debit card scanning device with a USB cord, four electronic ribbon cables, two USB thumb
drives, one global positioning system (“GPS”) device, numerous credit/debit cards and gift cards,
and various receipts. All of the credit/debit cards were scanned. More than 15 of the cards were
found to contain information associated with card numbers that were different from those
displayed on the front sides of the cards and thereby confirmed to be counterfeit.

Search warrants were obtained for the recovered electronic devices. Forensic examination
of the laptop computers revealed insta!lation of MSRX software used to encode magnetic strips on -
plastic cards. The MSRX application was operated on the Lenovo laptop computer on several
occasions between November 17, 2017, and December 2, 2017. Examination of one of the
Defendant’s cellular telephones revealed online shopping for magnetic card data encoding and
reading devices in November 2017. Examination of another cellular telephone belonging to the
Defendant revealed that, while in West Virginia in September 2017, the phone was used to take
photos of credit/debit card skimming equipment. This phone also contained photos of open
terminals at gas pumps with the wiring inside the terminals manipulated.

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Matthew J. Maddox Dioel Trujifio ©
Assistant United States Attomey m7 “} ©
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Christopher C. Nieto, Esq.

Counsel for Defendant
